

40 State LLC v Karr (2018 NY Slip Op 01737)





40 State LLC v Karr


2018 NY Slip Op 01737


Decided on March 16, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 16, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, CARNI, NEMOYER, AND CURRAN, JJ.


206 CA 17-01001

[*1]40 STATE LLC, PLAINTIFF-RESPONDENT,
vSUZANNE KARR, DEFENDANT-APPELLANT, ET AL., DEFENDANTS. (APPEAL NO. 1.) 






PHETERSON SPATORICO LLP, ROCHESTER (DERRICK A. SPATORICO OF COUNSEL), FOR DEFENDANT-APPELLANT. 
WOODS OVIATT GILMAN LLP, ROCHESTER (ROBERT D. HOOKS OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Monroe County (Renee Forgensi Minarik, A.J.), entered December 5, 2016. The order, among other things, granted plaintiff's motion for partial summary judgment. 
Now, upon reading and filing the stipulation of discontinuance with attached Exhibit A signed by the attorneys for plaintiff and defendant-appellant on January 30, 2018,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: March 16, 2018
Mark W. Bennett
Clerk of the Court








